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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA

                                                            Case No. 09-130 (PGS)


                      V.
                                               .                       ORDER


 DALNAVE NAVIGATION, Ct al.




        WHEREAS this Court entered an Order on March 30, 2009 arranging for defendant

Papadakis’s interpreter of choice to provide interpreting services at the time of the depositions to

be conducted in this matter pursuant to Fed. R. Crim, P. 15; and

       WHEREAS the Court has been informed that, pursuant to the Guide to Judiciary Policies

and Procedures, vol. 7, ch. 3, B,3.13, it is the responsibility of the Government to provide

interpreters for such depositions;

       NOW THEREFORE, IT IS on this I day of April, 2009,

       ORDERED that the Court’s Order of March 30, 2009, be and hereby is vacated. The

Government shall provide an interpreter for the Rule 15 depositions.



April 1,2009
                                                             PETER G SHERIDAN, U S D J
